Case 1:17-cv-00427-JKB Document 220 Filed 07/26/21 Page 1 of1
IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
DAVID G. FEINBERG, ef al.,
Plaintiffs,
vs. . Civil Action No. JKB-17-0427
T. ROWE PRICE GROUP, INC., ef al., *

Defendants. *
eR

SETTLEMENT ORDER
(LOCAL RULE 111)

This Court has been advised by the parties that the above action has been settled, including

all counterclaims, cross-claims, and third-party claims, if any. Accordingly, pursuant to Local

Rule 111, it is ORDERED that:

This action is hereby dismissed, and each party is to bear its own costs unless otherwise

agreed, in which event the costs shall be adjusted between the parties in accordance with their

agreement. The entry of this Order is without prejudice to the right of a party to move for good

cause within 60 days to reopen this action if settlement is not consummated. If no party moves to

reopen, the dismissal shall be with prejudice.

Date: July ZG , 2021 oP rin TK (DL

James K. Bredar
Chief Judge
